
232 Md. 657 (1963)
194 A.2d 269
LOMAX
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 41, September Term, 1963.]
Court of Appeals of Maryland.
Decided October 18, 1963.
*658 Before HENDERSON, HAMMOND, HORNEY, MARBURY and SYBERT, JJ.
PER CURIAM:
This is an application for leave to appeal from the denial of post conviction relief.
At a hearing before Judge Harris, the petitioner was represented by court-appointed counsel, was present in person and testified on his own behalf. The court, in its memorandum and order rejecting the claims of the petition, clearly stated the grounds on which the case was determined and made separate findings based on the testimony taken at the hearing and supported by prior decisions of this Court, as to each of the seven contentions raised below by the petitioner. We concur.
On his application for leave to appeal the petitioner has raised for the first time the contention that evidence obtained by an illegal search and seizure was used against him in his original trial. It is well settled that claims not asserted in the lower court will not be considered by this Court on an application for leave to appeal. Smith v. Warden, 232 Md. 650; Byrd v. Warden, 222 Md. 577.
Application denied.
